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 6                             UNITED STATES DISTRICT COURT
 7                           SOUTHERN DISTRICT OF CALIFORNIA
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 9   BESSIE WOODWARD; and EDWARD                           Case No.: 17-CV-2369-JLS (KSC)
     WOODWARD,
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                                         Plaintiffs,       ORDER REQUESTING UPDATED
11                                                         DECLARATIONS BY PLAINTIFFS
     v.
12
     COUNTY OF SAN DIEGO; and DOES                         (ECF Nos. 9, 11)
13
     1-20,
14                                    Defendants.
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17         Presently before the Court are two Motions to Dismiss, one by Defendant the County
18   of San Diego, (ECF No 9), and one by Defendant Trevor Newkirk, (“Newkirk MTD,” ECF
19   No. 11). Both Defendants move to dismiss the complaint, which is brought by Plaintiffs
20   Bessie Woodward and Edward Woodward as successors in interest to Lyle Woodward
21   (“Lyle”). Defendant Newkirk argues that Plaintiffs do not have standing to bring a survival
22   action because they have not properly affirmed they are Lyle’s successors in interest.
23         A successor in interest who “seeks to commence an action or proceeding” on behalf
24   of a decedent “shall execute and file an affidavit” that conforms with the enumerated
25   requirements of California Code of Civil Procedure § 377.32(a). See Wishum v. California,
26   No. 14–cv–1491–JST, 2014 WL 3738067, at *2 (N.D. Cal. July 28, 2014) (“Section 377.32
27   requires any party seeking to commence an action as a decedent’s successor in interest to
28   file an affidavit or declaration stating the basis for that designation.”). Plaintiffs have filed

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 1   declarations, (ECF Nos. 5-1, and 5-2), but Newkirk argues “the declarations do not provide
 2   facts that allow the Court to determine whether Decedent died intestate, or leaving a valid
 3   will, or without issue, or whether plaintiffs are Decedent’s sole beneficiaries.” (Newkirk
 4   MTD 9.)1 In response, Plaintiffs state Lyle died without a will and without a spouse or
 5   children. (ECF No. 13, at 16.)
 6          The Court agrees with Newkirk; Plaintiffs must file declarations that state they are
 7   the decedent’s successors in interest, “with facts in support thereof.” Cal. Code Civ. P.
 8   § 377.32(5). Plaintiffs’ declarations state only they are successors in interest, with no
 9   supporting facts.
10          The Court finds that it would be a waste of judicial resources to dismiss this
11   complaint due to inadequate declarations, when Plaintiffs state they are able to easily cure
12   the defects. Plaintiffs SHALL file updated declarations addressing the deficiencies noted
13   by Defendants within five days of the electronic docketing of this Order. After reviewing
14   the updated declarations, if Defendants continue to contest Plaintiffs’ standing to bring this
15   case, they SHALL file a response within five days of Plaintiffs’ filing of the declarations.
16   If Defendants do not file a response by this time, the Court will issue an order on
17   Defendants’ motions to dismiss in due course.
18          IT IS SO ORDERED.
19   Dated: June 11, 2018
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       “Decedent’s successor in interest” means “the beneficiary of the decedent’s estate or other successor in
26   interest who succeeds to a cause of action or to a particular item of the property that is the subject of a
     cause of action”. Cal. Civ. Proc. Code § 377.11. The definition of “beneficiary of the decedent’s estate”
27   depends on whether the decedent died with or without a will. § 377.10. Within this determination, it is
28   important to know if Lyle had a spouse or issue. See Cal. Prob. Code §§ 6401, 6402. Thus, these facts
     must be established to determine whether Plaintiffs are Lyle’s successors in interest.

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